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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                      )
                                               )
                         Plaintiff,            )       CRIMINAL ACTION
                                               )
v.                                             )       No.    04-40141-01, 02
                                               )
ARLAN DEAN KAUFMAN and                         )
LINDA JOYCE KAUFMAN,                           )
                                               )
                         Defendants.           )
                                               )


                               MEMORANDUM AND ORDER
        This case comes before the court on defendants’ joint motion

to suppress evidence and for return of property.                            (Doc. 132.)
Defendants incorporated a brief in their motion, the government
filed a response, and defendants filed a reply.                       (Docs. 160, 182.)

The court conducted an evidentiary hearing on August 30, 2005.
Defendants’ motion is GRANTED in part, and DENIED in part, for
reasons set forth herein.
I.     BACKGROUND AND PROCEDURAL HISTORY
        Defendants     are     charged    in       a   thirty-four         count    second

superceding indictment with, among other things, Medicare fraud,
civil rights violations, and subjecting victims to involuntary
servitude, all in violation of various provisions of Title 18 of
the United States Code.             (Doc. 121.)              In the present motion,
defendants attack the validity and execution of various search

warrants      executed    on    their    property        over       the   course    of   the
underlying investigation.            Defendants requested an evidentiary
hearing on the motion; however, the only testimony presented at the
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hearing was a brief, unfruitful examination of the case agent.
Nonetheless,       the   parties    have      agreed    to   the    authenticity     of

exhibits      attached    to   their   pretrial        motions     and   accompanying
briefs.      (Doc. 198 at 1.)
        It appears that this case has its roots in an incident that
occurred in late 1999, when children riding a school bus saw people
working in the nude on defendants’ farm near Potwin, Kansas.                        The

ensuing investigation by local authorities revealed that defendant
Arlan Kaufman, a Licensed Clinical Social Worker d/b/a the Kaufman
Treatment Center, was administering what he described as “nude
therapy” to a group of mentally-ill patients under his charge.
This caught the attention of the United States Department of Health

and Human Services (HHS) investigators, who suspected that this
“therapy” was being billed to Medicare, and that such billings
might amount to Medicare fraud based on, among other reasons, the
fact that nude therapy was not a recognized means of treating
mental patients.         In the Matter of the Search of 1416 Grandview,

Newton,      Kansas,     No.   01-M-6071-01-KMH,         Application      for    Search
Warrant (2001 Search Warrant Application), attach. B at 8-10.
        Although the case was initially investigated by officials from
Butler County, Kansas, the investigation eventually stalled and was
referred to HHS.          HHS investigators picked up where the local

authorities left off, relying on reports from sheriff’s deputies
regarding the nudity incident at defendants’ farm, as well as
similar reports regarding interviews of defendants’ mentally ill
patients, all of whom apparently resided at one of two homes owned
by    defendants    in    Newton,   Kansas.        These     properties     in   which

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defendants housed their patients, along with defendants’ residence,
have generally been referred to as “the Kaufman House.”                       In the

Matter of the Search of 1416 Grandview, Newton, Kansas, No. 04-M-
6188-01-DWB, Application for Search Warrant (2004 Search Warrant
Application), aff. ¶ 5; 2001 Search Warrant Application, attach.
B at 8-10.
       HHS also contacted the Medicare carrier for Kansas, Blue Cross

Blue    Shield    of   Kansas    (BCBSKS),     to    obtain     “peer   comparison
studies,” which are essentially analyses of how defendants’ billing
practices compared with that of other medical providers of similar
services.        These analyses showed that defendants consistently
billed more hours than most of their peers, and usually with far

fewer patients than their highest billing peers.                      In fact, the
investigation revealed that for 1998 defendant Arlan Kaufman was
the highest biller in the state of Kansas for group psychotherapy.
He achieved this distinction with only nine patients, whereas the
next highest billing service provider of group therapy had 52

patients.     2001 Search Warrant Application, attach. B at 12-14.
       In   addition,   the     investigation       revealed    that    BCBSKS     had

referred some of defendants’ claims to Martin M. Wetzel, M.D., a
psychiatrist, for review.         Dr. Wetzel concluded that all the claims
were    inadequately     documented.          He    also   opined     that    it   was

questionable whether this type of treatment was even appropriate
for patients with the types of disorders manifested by the Kaufman
Treatment Center residents.           Finally, he noted that some of the
documentation      appeared      to   have    been     generated      after   BCBSKS
requested     additional      treatment      records    and    that   some    of   the

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patients had identical treatment notes, thereby implying that the
documentation    had   been     manufactured.          Based    on    Dr.     Wetzel’s

findings, all 641 claims under review by BCBSKS were denied.                       Id.
at 16-17.
     HHS Special Agent (SA) Ryan Filson incorporated these and
other facts into a 22-page affidavit in support of a search
warrant, which was presented to the federal magistrate on June 13,

2001.   The warrant was issued the same day, and authorized a search
of defendants’ residence at 1416 Grandview, Newton, Kansas.                        HHS
special agents executed this search warrant on June 18, 2001.                       In
all, the agents seized over 400 pieces of evidence, including
numerous    multi-page      documents.       The      evidence       included    bank

statements,     therapy      notes,    Medicare-related             correspondence,
videotapes, and photographs, just to name a few items.                  2001 Search
Warrant Return; (Doc. 132 exh. 3.)
     Despite the zeal of the HHS investigators, the case apparently

languished under the federal prosecutor initially assigned to the

case.   Defendants communicated with the prosecutor through counsel
at various times during 2002 and, although the prosecutor indicated
that he intended to seek an indictment, none was forthcoming.
Finally, in May of 2003, SA Filson formally closed his criminal
investigation    and       continued   the     case    as      an    administrative

investigation, seeking the imposition of fines and perhaps other
penalties.      Then, in September of 2004, the case caught the
attention of a different federal prosecutor who saw not only the
potential for the fraud-related charges, but also the possibility
that defendants’ treatment of the Kaufman Treatment Center patients

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might amount to civil rights violations.
     The criminal case was promptly re-opened and, on October 25,

2004,    FBI    SA   Barry   Petru   sought    search     warrants       for    various
properties       associated     with    defendants’         business,       including
defendants’ residence at 1416 Grandview in Newton, Kansas.                          The
warrant was executed on October 26, 2004, culminating in the
seizure of numerous items, including a multitude of video and audio

tapes, books, records, and five computers.                      2004 Search Warrant
Return.     Defendants were arrested that same day and charged in a
one-count       complaint    with    holding     individuals        in    involuntary
servitude, thereby violating 18 U.S.C. §§ 1584 and 2.                       (Doc. 1.)
Then, on November 3, 2004, the grand jury returned a single-count

indictment charging the same offense as the complaint.1                     (Doc. 33.)
Finally, federal investigators obtained another search warrant on
January 14, 2005, which allowed them to search computers and other
electronic storage media seized in the 2004 search.                      In the Matter
of the Search of Computers, Computer discs, and a Personal Data

Assistant, No. 05-M-6003, Search Warrant attach. B (2005 Search
Warrant).
     In their present motion, defendants present numerous arguments
why some or all of the evidence seized from all three searches
should be suppressed.         Specifically, defendants implore the court:

               1. To suppress as evidence all the materials
               seized in the 2001 search of their home because
               the search was a general search that violated
               their rights guaranteed by the Fourth Amendment


     1 That indictment has been superseded twice, with the last
indictment filed on June 16, 2005 charging the thirty-four counts
presently at issue. (Docs. 80, 121.)

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           to the Constitution. In the alternative,
           defendants move for the suppression of items
           not named in the warrant and not subject to the
           plain   view    exception   to    the   warrant
           requirement.
           2. To suppress as evidence all data and
           information obtained from the subsequent search
           of a computer seized in the 2001 search.
           3. To suppress as evidence all the materials
           sized [sic] in the 2004 search of their home
           because those materials were the fruit of the
           illegal 2001 search.
           4. To suppress as evidence all data and
           information obtained from the 2005 search of
           the computers seized during the 2004 search
           because that data and information is the fruit
           of the illegal 2001 search.
           5. To suppress as evidence all materials seized
           in the 2004 search because the search warrant
           was overbroad and authorized the search for and
           seizure of items for which there was no
           probable cause to believe that the items would
           constitute fruits, instrumentalies [sic], or
           evidence of a crime.

           6. To order the return to the defendants of
           their illegally seized property pursuant to
           Fed. R. Crim. P. 41(g).
(Doc. 132 at 1-2.)2        The court will address each request in turn.


     2  In addition to the specific relief requested here,
defendants filed additional motions attacking other aspects of the
contested searches. In the present motion, defendants alluded to
seized items that were protected by the attorney-client privilege.
(Doc. 132 at 7-8.)    However, they presented a separate motion
addressing this issue.      (Doc. 130.)     Similarly, defendants
challenged the legality of the 2001 search based on allegations of
material misrepresentations in the search warrant.     (Doc. 134.)
The court ruled separately on all the issues raised in those
motions.   (Docs. 217, 234, 244.) With respect to the allegedly
privileged materials, the court granted defendants a further
opportunity to identify privileged materials and submit additional
briefs. The court specifically ruled that any attorney-client and
work product privileges will be deemed waived as to any materials
not identified and handled in accordance with the court’s
procedure. (Doc. 217 at 14-15).       The parties did not avail
themselves of the opportunity offered by the court.

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II.     ANALYSIS
        The   Fourth   Amendment    to    the       United   States    Constitution

provides that:
              [t]he right of the people to be secure in their
              persons, houses, papers, and effects, against
              unreasonable searches and seizures, shall not
              be violated, and no Warrants shall issue, but
              upon probable cause, supported by Oath or
              affirmation, and particularly describing the
              place to be searched, and the persons or things
              to be seized.
The particularity requirement ensures that the search is as limited
as    possible,     and   was   intended       to    prevent    the   wide-ranging,

“exploratory rummaging” of a “general search,” which the colonists
abhorred.       United States v. Foster, 100 F.3d 846, 849 n.3 (10th
Cir. 1996) (quoting Coolidge v. New Hampshire, 403 U.S. 443, 467,
91 S. Ct. 2022, 2038, 29 L. Ed. 2d 564 (1971)).                  Government agents
may only seize items that are described in the warrant,                          and

“nothing is left to the discretion of the officer . . . .”                     Id. at
849.
        “[T]he general rule, where executing officers exceed the scope
of a warrant, is that only the improperly seized evidence, not all
of the evidence, must be suppressed, unless there was a flagrant

disregard for the terms of the warrant.”                United States v. Le, 173
F.3d 1258, 1269 (10th Cir. 1999).              However, when the violation may
be fairly described as “flagrant,” blanket suppression of all
evidence seized, whether lawfully or unlawfully, may be required.
Foster, 100 F.3d at 849.           Although the degree of the officers’

disregard for the scope of the warrant may be proved by direct
evidence, see, e.g., id. at 850 (suppressing all evidence where


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officer admitted that it was standard procedure in his department
to ignore the warrant and seize “anything of value” when a warrant

is     executed),     the     degree   of    disregard      may    be   established
circumstantially by a quantitative comparison of the evidence
lawfully seized to that seized unlawfully.                  See United States v.
Medlin, 842 F.2d 1194, 1195-96, 1199 (10th Cir. 1988) (suppressing
all evidence when 130 items seized lawfully, but 667 items seized

unlawfully).
        Since defendants put forth no direct evidence on this matter,

the court must pursue the latter course, first determining what,
if any, evidence was unlawfully seized.                   Then, the court will
determine whether the volume of unlawfully seized evidence is so

disproportionate to that which was properly seized so as to compel
the conclusion that the search in question was an unlawful general
search.      Where, as here, the challenged search was supported by a
warrant, defendants bear the burden of proving that the search
violated the Fourth Amendment.              United States v. Carhee,           27 F.3d

1493, 1496 (10th Cir. 1994).
        A.   2001 Search was not a General Search3


        3
       Defendants assert that the search was general due to beliefs
and suspicions of officers conducting the search. They cite United
States v. Foster, 100 F.3d 846 (10th Cir. 1996) in support of their
argument. Foster is distinguishable for several reasons, but one
of the most telling is that the district court held a suppression
hearing at which an officer admitted that “everything of value” was
seized pursuant to standard department procedure, regardless of the
language of the warrant.
     In this case, there was no suppression hearing. The officers
who participated in the search did not testify and there is no
evidence that the officers seized “everything” or anything close
to “everything.” The parties’ agreement regarding authenticity of
documents cannot be stretched to cover officers’ “beliefs” and
“suspicions.”

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     Under the heading SPECIFIC ITEMS TO SEIZE, the 2001 Warrant

listed the items to be seized as follows:

           1) Documents which regard procedures and
           policies for billing for Medicare patients,
           including,   but   not   limited   to,   records
           concerning, discussing or describing the proper
           (or improper) way to bill services, documents
           to   or  from    the   Health   Care   Financing
           Administration (HCFA), Blue Cross/Blue Shield
           of Kansas, or any other entity which is related
           to or impacts on Medicare billings;

           2) Documents which relate to the ownership or
           control of the physical or real property which
           is part of the premises occupied by Arlan
           Kaufman, d/b/a Kaufman Treatment Center or
           Kaufman House Residential Group Treatment
           Center, Inc. - whether individually or as an
           entity;
           3) Documents which reflect any individuals or
           organizations who have direct or indirect
           ownership or control interest in, or who have
           acted as a director, officer, agent, or
           managing employee of Arlan Kaufman, d/b/a
           Kaufman Treatment Center or Kaufman House
           Residential Group Treatment Center, Inc. -
           whether individually or as an entity;
           4) Accounting and financial records for Arlan
           Kaufman, d/b/a Kaufman Treatment Center or
           Kaufman House Residential Group Treatment
           Center, Inc. - whether individually or as an
           entity;
           5) Documents which relate to the disposition of
           any   funds  paid   by  the   Social   Security
           Administration on behalf of any beneficiary to
           Arlan or Linda Kaufman, or which relate to the
           duties and responsibilities of a representative
           payee;

           6) Documents concerning rent paid or expenses


     Defendants also cite United States v. Tamura, 694 F.2d 591
(9th Cir. 1982) for its “suggestion” that if seized items are
removed for off-site review, officers can avoid problems by
obtaining another warrant before reviewing the documents.        A
“suggestion” by a panel of the Ninth Circuit in a 20-plus year old
case is not persuasive.

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           paid by any Social Security beneficiary who has
           Arlan or Linda Kaufman as their representative
           payee;

           7) Calendar or appointment books and patient
           sign in sheets or logs;
           8) Regardless of time period, all medical
           charts and records, including, but not limited
           to, doctors orders, progress notes, office
           notes, patient order forms, prescriptions,
           visit logs, patient ledger/payment records,
           laboratory test records, hospital records,
           billing records (including charges, payments
           and/or adjustments), therapy notes, contracts
           or agreements of any kind only for those
           patients identified here, and any records
           reflecting the fact of treatment, the dates of
           treatment, length of treatment, identify of the
           patient and the treating therapist, the time
           and   length   of   each   appointment,   fees,
           diagnoses, actual treatment or interventions
           provided, treatment plans and recommendations,
           somatic therapies, and billing information
           related to the provision of any service for the
           following people: [JA, RB, KB, DB, GC, AG, HH,
           MH, JJ, PL, KR, TR, BT, AW]4
           9) All of the above records (Specifications 1
           through 8), whether stored on paper, on
           magnetic media such as tape, cassette, disk,
           diskette or on memory storage devices such as
           optical disks, disks, diskettes, removable hard
           disk cartridges, tapes, laser disks, video
           cassettes, programmable instruments such as
           telephones,    “electronic   address    books”,
           calculators, or any other storage media or
           media capable of being read by a computer or
           with the aid of computer related equipment, to
           be printed and seized in printed form.

2001 Search Warrant attach. A (emphasis in original).              In addition

to this description of the items to be seized, the warrant further
circumscribed   the   scope   of   the   search    with    these    additional
provisions:



    4   The identities of these potential victims has been redacted.

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          1. Unless otherwise specified, the time period
          referred to is January 1, 1997 to the present
          and all documents dated at any time during that
          time period and all documents that discuss
          policies,    business     or    organizational
          arrangements, or standard practices in effect
          at any time during that time period for Arlan
          Kaufman, d/b/a Kaufman Treatment Center or
          Kaufman House Residential Group Treatment
          Center, Inc. - whether individually or as an
          entity.[5]
          2. “Documents” means written, printed, typed,
          recorded, electronic or graphic matter of every
          type or description, formal or informal,
          whether   or   not  wholly   or   partially   in
          handwriting, including, but not limited to,
          agreements, contracts, orders, visit logs,
          billing records, payment records, financial and
          accounting records (such as general ledgers,
          subsidiary ledgers, books of accounts, journals
          trial balances, financial statements, bank
          statements, investment account statements,
          prospectuses and accounting worksheets) and
          source documents (such as checks, check stubs
          or registers, bank drafts, canceled checks,
          cashiers checks, deposit slips, withdrawal
          slips, orders, receipts, vouchers, invoices,
          manifests, bill of lading, and endorsements),
          appointment books or calendars, medical records
          or charts or any part thereof, minutes of
          meetings, instructions, directions, policies,
          notes, memoranda, correspondence, letters,
          marketing    materials,   training   materials,
          diaries, desk pads, scrapbooks, notebooks,
          bulletins,    circulars,    forms,    pamphlets,
          statements, postcards, letters, telegrams,
          facsimiles,    reports,    notices,    messages,
          analysis, comparison, graph, chart, microfilm,
          microfiche, scanned documents, and material
          stored in any data storage system, to include
          electronic storage media.
Id.
      The only evidence defendants put forth regarding the items

seized during the 2001 search is an inventory generated by the


      5The court notes that the second half of this compound
sentence appears incomplete in that the subject is basically “all
documents,” but there is no verb.

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government (Doc. 132 exhs. 3, 4.), along with a handful of the
contested items attached as exhibits to their reply brief.                            (Doc.

182.)      The court will consider the contents of those specific items
in making its ruling; however, for other contested items which are
not in evidence, the court will accept the inventory as evidence,
and    will   consider    the     descriptions        of    seized     items    contained
therein.      Nonetheless, the descriptions are often quite general.

By    declining   to    put     forth    any     evidence     at    the    hearing    they
requested,      defendants       have     forced      the    court    to    rely     almost
exclusively on the descriptions contained in the inventory.                           Since
defendants bear the burden to prove that the challenged items were
seized outside the scope of the warrant, any ambiguities in the

descriptions      of    the     seized        items   will     be    resolved       against
defendants.       Cf. United States v. Higgins, 282 F.3d 1261, 1269
(10th Cir. 2002).
       The 2001 inventory contains 405 line items.                        (Doc. 132 exh.

3.)    Defendants claim that 205 of those items were beyond the scope

of the warrant.        Id. at 8-9.       Defendants presented a marked-up copy
of the 2001 inventory on which they drew colored boxes around the
contested      items,    each    of     the    four   colors      used    designating     a
different group for purposes of their argument.6                            Id. exh. 4.
While defendants have seen fit to speak in generalities on this

matter, the court can see no way to resolve this dispute except by


       6
      In fact, defendants used five different colors to group the
disputed items - red, yellow, blue, orange, and black.
Unfortunately, defendants only discussed four of the color groups,
leaving the court to wonder about the significance of items circled
in orange. (Docs. 132 at 9-10; 182 at 2-10.) Nonetheless, the
court considered items circled in orange and addresses them below.

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going through the contested items one-by-one.              Nonetheless, some
items merit more discussion than others.          Accordingly, rather than

write 205 paragraphs, one for each item, the court will address the
many meritless challenges summarily, in tabular form.              In arriving
at its conclusion that these items clearly fall within the scope
of the warrant, the court relies on the descriptions included for
each line item in the 2001 inventory, rather than the abbreviated

description included in the table, infra.
    Before commencing its line-by-line review, the court needs to

address one argument put forth by defendants that bears heavily on
determining which items fall within the scope of the warrant.
Under the heading “SPECIFIC ITEMS TO SEIZE,” the 2001 warrant

repeatedly uses the following phrase to limit the scope of items
to be seized: “Arlan Kaufman, d/b/a Kaufman Treatment Center or
Kaufman House Residential Group Treatment Center, Inc. - whether
individually or as an entity.” (Emphasis in original). Defendants
interpret this phrase to limit the search to business-related items

belonging to Arlan Kaufman, whether in his own name or in the name
of one of the businesses.       (Docs. 132 at 6; 182 at 2, 5-6.)           By
contrast, the government implicitly interprets this language as
authorizing seizure of items related to defendant Arlan Kaufman,
whether personally or in relation to the two business entities

specified.    (Doc. 160 at 22.)          The court rejects defendants’
interpretation.    The scope of this language is made clear in the
last part of the phrase, where it states, “whether individually or
as an entity.”    These words make clear that the warrant authorized
seizure of items related to Arlan Kaufman, both as an individual

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and through his businesses, the Kaufman Treatment Center or the
Kaufman House Residential Group Treatment Center, Inc.                     Hence,

items that were personal to Arlan Kaufman and wholly unrelated to
his businesses would still fall within the scope of the warrant.
       1.   Summary of Items Properly Seized Under 2001 Warrant
       The following table summarizes the court’s findings with

respect to the bulk of the property seized pursuant to the 2001

Warrant:

   Item                     Description                        Search Warrant
   No.7                                                           Category8
1.01          Tax records                                  4
1.03          Telephone bills                              2, 4
1.05          Medical bills and insurance                  4
              information
1.06          Farm receipts and invoices                   4
1.07          Receipts and invoices                        4
1.08          Tax guide book                               4
1.09          Tax publication                              4
1.11          Notebook labeled 1998 taxes                  4
1.13          Credit card statements                       4
1.14          Financial records                            4
1.15          Receipts                                     4
1.16          Bank statements                              4
1.17          Bank statements                              4
1.18          Bank statements                              4


       7
       This     is   the   same   numbering    scheme      used   on   the   2001
inventory.
       8
       The numbers in this column correspond to the paragraph
number(s) in the 2001 search warrant, under the heading “SPECIFIC
ITEMS TO SEIZE,” which authorized seizure of this particular item.
See pages 8-11, supra.

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1.19        Bank statements                               4
1.20        Bank statements                               4
1.21        Bank statements                               4
1.22        Bank statements                               4
1.23        Bank statements                               4
1.24        Bank statements                               4
1.25        Bank statements                               4
1.26        Bank statements                               4
1.27        Bank statements                               4
1.28        Bank statements                               4
2.02        W-2s and ledger sheets                        4
2.04        Unsigned prenuptial agreement                 4
2.05        Tax book                                      4
2.06        Tax forms and publications                    4
2.07        Insurance premium information                 4
2.09        Tax records                                   4
2.10        Invoices and receipts                         4
2.11        Receipts and credit card                      4
            statements
2.13        Financial records                             4
2.16        Bank statements                               4
2.17        Bank statements                               4
2.18        Bank statements                               4
2.19        Bank statements                               4
2.20        Bank statements                               4
2.21        Bank statements                               4
2.22        Bank statements                               4
2.23        Bank statements                               4
2.24        Bank statements                               4
2.25        Bank statements                               4


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2.26        Bank statements                               4
2.27        Bank statements                               4
3.01        Account statements                            4
3.06        Receipts                                      4
3.07        Receipts                                      4
4.01        Patient notes and records for JJ              8
5.02        Bank statements                               4
5.03        Bank statements                               4
5.04        Social Security records                       4
5.05        IRA records                                   4
5.07        Medical bills                                 4
5.09        Retirement account records                    4
5.11        IRA records                                   4
5.12        Credit card records                           4
5.14        IRA records                                   4
5.17        IRA records                                   4
5.19        Tax records                                   4
5.21        Tax records                                   4
5.22        Bank statements                               4
5.23        Tax records                                   4
5.24        Continuing education materials                1
            regarding billing procedures
5.25        IRA records                                   4
5.28        Receipts                                      2, 4
5.29        Financial records                             4
5.30        Tax records                                   4
5.31        Tax records                                   4
5.32        Tax records                                   4
5.33        Medical bills                                 4
5.35        Credit card records                           4


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5.37        Check registers                               4
5.41        Tax records                                   4
5.43        Bank statements                               4
5.44        Bank statements                               4
5.45        Bank statements                               4
5.46        Bank statements                               4
6.06        Receipts                                      4
6.07        Bank statements                               4
6.08        Farm receipts                                 2, 4
6.09        Medical receipts                              4
6.13        Bank statements                               4
6.14        Mutual fund records                           4
6.15        Insurance records                             4
6.16        Tax records                                   4
6.17        Receipts                                      4
6.19        Investment records                            4
6.21        Tax records                                   4
6.22        Receipts                                      4
8.01        Investment records                            4
8.03        Patient vacation plans                        5, 6, 8
8.34        Tax records                                   4
8.35        Tax records                                   4
8.36        Tax records                                   4
8.37        Tax records                                   4
9.04        Nude therapy literature                       8
9.08        Notes and calculations regarding              2, 4
            farm
9.11        Therapy notes                                 8
13          Video tape of sex therapy                     8
23          Handwritten note regard nude                  8
            therapy

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25             Real estate/Insurance papers for                  2
               1416 Grandview
27             Patient waivers                                   5, 6, 8
32             Patient notes                                     8
42.06          Letter regarding JJ’s condition                   8
44.01          Bank statements                                   4
44.16          Telephone statements                              2, 4
46.15          Receipts                                          4


      2.     Additional Items Properly Seized Under 2001 Warrant
      Turning     now     to    contested      items      that   merit     additional

discussion, defendants used the color yellow to designate video
tapes and photographs containing nude people or sexually explicit
material, which defendants argue are beyond the scope of the 2001
warrant.      However, it is uncontested that defendants claim their
nude therapy is a legitimate method of treating the mentally ill

patients under their charge.                Accordingly, the court finds the
following items represent photographs or videos of defendants and
or   their    patients      engaged    in     nude    and/or     sexually    explicit
activities     that     represent     the     sort   of   “treatment”      defendants
provided, and were therefore properly seized under paragraph 8 of

the 2001 search warrant’s list of items to be seized: 14.03, 14.05,
24, all items under 33, 37.01, 38.01, 38.02, 38.03, 38.04, 38.05,
38.08, 38.42, 38.52, 41.01, 41.02, 41.05, 43.02, 43.07, 43.08,
43.09, and 44.06.
      Similarly,      the      government     also    seized     other    literature,

photographs and video tapes of nudist or sexually explicit material
that do not appear to contain images of defendants or their


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patients.      Nonetheless, the descriptions in the search warrant
inventory suggest that these materials may represent the types of

activities that defendants considered therapeutic, and for which
they billed Medicare.      Accordingly, the court concludes that they
were properly seized under paragraph 8 of the 2001 search warrant’s
description of items to be seized, as evidence of, among other
things, “actual treatment or interventions provided, treatment

plans and recommendations, [and/or] somatic therapies.”                       2001
Search Warrant, Specific Items to Seize ¶ 8.              Thus, the following
items were properly seized: 37.02, 38.31, 38.32, 38.33, 38.34,
38.35, 38.36, 38.37, 38.38, 38.39, 38.40, 38.41, 38.43, 38.45,
38.50, 39, 40, and 43.04.

      In addition to the foregoing subsets of yellow items, there
are a few that do not fit into neat categories.               Item 38.21 is a
video tape discussing patient residential facilities.                This could
constitute general evidence related to treatment and services
provided to the patients, and was properly seized under paragraphs

5, 6, and 8 of the 2001 search warrant’s description of items to
be   seized.     Item   38.49   is   described   as   a    videotape       showing
defendant Arlan Kaufman and two patients comparing independent
living arrangements to the lifestyle associated with living at an
institution.     This tape was properly seized under paragraphs 5, 6,

and 8 of the warrant.       Finally, item 43.10 is a video tape that
shows resident BT discussing legal issues with defendant Arlan
Kaufman.    Among other things, a tape of this type would provide
evidence of BT’s progress while under defendants’ care in the sense
that it memorializes her mental state and intellectual capacity at

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a given point in time, and was thus properly seized under paragraph
8.

     Besides the yellow items, defendants also designated several
contested items with the color black.        The items are computer files
printed   from    defendants’    computer     during      the    2001     search.
Defendants first argue that the entire computer search was unlawful
because officers failed to take the steps set forth in                     United

States v. Carey, 172 F.3d 1268 (10th Cir. 1999) and United States
v. Campos, 221 F.3d 1143 (10th Cir. 2000) when they discovered
relevant files intermingled with irrelevant files.                (Doc. 132 at
21-23.)   However, defendants declined to put forth any evidence
that the computer files were mingled in this fashion.                   Moreover,

their representations in their brief were misleading on this point.
Defendants charged that SA Filson searched the computer unlawfully.
However, the evidence at the hearing was that SA Filson had no part
in   searching    defendants’    computer.       Rather,        that    task   was
undertaken by other officers.       Thus, based on defendants’ failure

to show that irrelevant files were intermingled with relevant
files, coupled with their misrepresentations on this matter, the
court finds nothing improper about the search method employed.
     That conclusion notwithstanding, defendants also assert that

12 of the 25 files seized were outside the scope of the warrant.

Defendants included copies of most of the contested files as
exhibits to their reply brief.      (Doc. 182.)      The court has reviewed
those exhibits.    Item 48.03 contains therapy notes and information
regarding Medicare billing for treatment to resident RB, thereby
bringing this file within the scope of paragraphs 1, 4, and 8 of

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the 2001 warrant.         Defendants concede as much.                (Doc. 182 at 8.)
Items 48.06 and 48.07 discuss nude therapy, the nudist proclivities

of defendants’ patients, and other activities at defendants’ farm,
and was properly seized under paragraph 8.
    Item 48.08 discusses arrangements for a vacation trip to
Florida in which defendants express an intent to take patients
along   with     them    in    exchange     for   labor    on    their   farm.        The

government asserts that defendants billed Medicare for “therapy”
that occurred during the dates of this trip.                    Thus, evidence about
the trip is encompassed under paragraph 8 of the 2001 search
warrant.    Moreover, if defendants billed Medicare for events on
this trip, and then tried to exact duplicative payment from the

patients,      this     evidence    would     appear      to    be   central     to   the
government’s case.         Finally, defendants have made clear that they
consider the work done on the farm to be part of the therapy they
provided    to    their       patients,     thereby    once      again   implicating
paragraph 8 of the 2001 search warrant.                   In addition, this item

also contains a memorandum identifying one of the “attractions”
that defendants suggested to their patients for the Florida trip
as being a nudist resort.           The memorandum, purportedly written by
defendant Arlan Kaufman, also yields insight into his view of
nudism as a legitimate means of treating mental problems, thereby

placing it squarely within paragraph 8.
    Item 48.11 discusses another trip to Colorado.                             Taken in

context with other evidence showing that defendants took patients
with them on this trip, along with evidence such as item 48.08
showing that defendants were inclined to exact some sort of payment

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in the form of farm labor for such trips, this item was properly
seized as evidence relating to therapy under paragraph 8 of the

2001 search warrant.       Moreover, this document provides a somewhat
detailed look into the mental impression of various patients during
this trip.    It also documents the fact that having the patients
engage in nude activities was a planned element of the “vacation.”


    Items 48.14 and 48.16 include notes and agreements regarding
resident MH, along with other information regarding the type of
“therapy”    defendants    supplied    to    their    patients.       Item     48.20
contains rules and policies for the Kaufman House.                    Item 48.21
contains notes on a particular type of therapy.                       Item 48.22

contains     notes   and    forms     regarding       treatment      and      living
arrangements for the patients. Item 48.25 contains notes regarding
the therapy and living arrangements at the Kaufman House.                     All of
these items were properly seized under paragraph 8 of the 2001
search warrant.

    Finally, item 48.24 discusses the billing questions raised by
BCBSKS, along with the interactions between defendants, the BCBSKS
representative, and Medicare.         It also contains letters regarding
patients.    This item was properly seized under paragraphs 1 and 8
of the 2001 search warrant.

    Next, the court considers a number of items related to one of
the residents, BT.         Item 8.19 contains a document appointing
defendant Arlan Kaufman as BT’s guardian.             Item 8.26 also purports
to discuss Arlan Kaufman’s actions as BT’s guardian.                         In this
capacity, Arlan Kaufman would likely be responsible for receiving

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and     disbursing   funds    on   behalf         of     BT,     activities       clearly
encompassed by paragraphs 5 and 6 of the 2001 search warrant.                          It

is also conceivable that the guardianship documents may discuss the
relationship between BT and Arlan Kaufman, as well as the fact of
treatment being rendered by defendants to BT, all matters within
the scope of paragraph 8 of the 2001 search warrant.                     Hence, these
items were properly seized.

         Item 8.25 contains tax records for BT.                  Tax records may shed
light    on   defendants’    handling      of     BT’s    funds,     including      items
addressed in paragraphs 5 and 6 of the warrant.                       Thus, 8.25 was
properly seized.       Items 8.27, 8.29, and 8.30 appear to contain
medical bills and related statements for BT.                      Such items provide

evidence regarding BT’s medical condition, a matter within the
scope of paragraph 8.       Finally, item 8.32 purports to contain cards
and letters related to BT.         To the extent these documents provide
a glimpse into BT’s medical condition, particularly her mental
health condition, they were properly seized under paragraph 8 of

the 2001 warrant.      Even the cards and letters have the potential
to show BT’s coherence and mental condition over time.                        As such,
they were properly seized as well.
      Next, the government seized a number of documents related to

IRAs in the name of defendant Linda Kaufman: Items 5.06, 5.10,

5.13, 5.15, 5.16, and 6.20.          The government asserts that all of
these documents were seized under paragraph 4 of the 2001 search
warrant.      (Doc. 160 at 28-29.)      However, that paragraph authorized
seizure of “[a]ccounting and financial records for Arlan Kaufman,
d/b/a Kaufman Treatment Center or Kaufman House Residential Group

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Treatment Center, Inc. - whether individually or as an entity.”
(Emphasis in original).       As previously discussed, this language

allowed the government to reach Arlan Kaufman’s financial records.
By contrast, the court finds no basis to construe this paragraph
as reaching financial records related exclusively to Linda Kaufman,
individually.    The 2001 inventory makes no suggestion that these
particular records were commingled with those of Arlan Kaufman, nor

that the funds referenced therein were commingled with those of
Arlan Kaufman.     Based on this scant record, the aforementioned
items were outside the scope of paragraph 4.
    Alternatively, the government asserts that these items were

seized pursuant to paragraphs 5, 6, and the billing portion of

paragraph 8.    (Doc. 160 at 28-29.)       Paragraph 5 authorizes seizure
of documents related to disposition of funds received from the
Social Security Administration.            Although it is unlikely that
statements from the IRAs would indicate the source of funds related
to any particular deposit, it is possible for the government to

show, through circumstantial evidence, that checks for Social
Security benefits in specific amounts were cashed or deposited in
other institutions and then deposits for equal amounts were made
into Linda Kaufman’s IRAs, thereby tracing misappropriated funds
to the IRAs.

    Likewise, essentially the same analysis applies to paragraph
6 of the 2001 warrant, which authorizes seizure of documents
“concerning rent paid or expenses paid by any Social Security
beneficiary who has Arlan or Linda Kaufman as their representative
payee.”   The government could trace funds from one of the Social

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Security beneficiaries to Linda Kaufman’s IRA.                         Accordingly, for
all these reasons, the court finds that these items were properly

seized.
       Last of all, with respect to items properly seized, there are

four miscellaneous items that do not fit well into any of the
previous groupings.          Item 9.01 is a spiral notebook containing the
writings of MH.         Like BT’s writings in item 8.32, this notebook

provides a potential glimpse at the mental state of the author,
resident    MH.        In   that   regard,      it    was   properly         seized    under
paragraph 8 as evidence of MH’s treatment progress.                          Item 9.21 is
described    as    a   spiral      notebook     containing       a    letter       regarding
nudity.     Since defendants maintain that nudity is part-and-parcel

of their therapy, this item was properly seized under paragraph 8.
Item   18   contains        medical   billing        information       for    BT     and   GC,
information encompassed by paragraph 8 of the 2001 search warrant.
Item   21   is    described     as    “[t]ext    of     Kansas       House    Bill     #2213
concerning patient confidentiality; document titled legal issues

related to KBSRB subpoena of records.” The government asserts that
this item also contained numerous Medicare documents, which are
covered under paragraph 1 of the warrant.                            However, the only
evidence before the court is the above-quoted description from the
2001 inventory.         Nonetheless, the 2001 search warrant affidavit

makes clear that the KBSRB investigation touched on defendants’
Medicare billing practices.               2001 Search Warrant Aff. at 11.
Accordingly, the court finds that item 21 was properly seized under
paragraph 1 of the 2001 warrant.
       3.   Items Improperly Seized Under 2001 Warrant

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     Although the preceding discussion focused on contested items

that were properly seized, the court finds that some items were

improperly    seized     because   they    were   beyond     the   scope      of    the
warrant.9    The court makes this determination based on the evidence
provided    by   the    parties,   which    consists     mostly    of   the        2001
inventory.    (Doc. 132 exh. 4.)      Although the government was offered
an opportunity to put on evidence at the hearing, it declined to

do so.      Having made that decision, the government is left with
little more than the descriptions of the evidence contained in the
2001 inventory.
     Item 5.08 is described as medical records for Linda Kaufman.

As it did regarding Linda Kaufman’s IRAs, the government asserts

that these records were properly seized under paragraphs 4, 5, 6,
and 8 of the 2001 search warrant.            (Doc. 160 at 28-29.)            However,
unlike the IRAs, through which purloined funds might have been
funneled, the court fails to see how Linda Kaufman’s medical
records fall within any of the four paragraphs on which the

government relies.        They are not financial records, nor do they
constitute any obvious link in the chain of disposition of Social
Security funds.        Neither can they be fairly described as amounting



     9 The court does not consider whether the government should
have recognized that these items were beyond the scope of the
warrant at the time they were initially seized. The Tenth Circuit
has recognized that in some cases the government may seize complex
or voluminous documents for further review off-site. United States
v. Hargus, 128 F.3d 1358, 1363 (10th Cir. 1997). Since we are now
over four years from the date the search was conducted, the court
simply finds that at some point during its required evaluation of
the seized evidence the government should have recognized that
these few items were beyond the scope of the warrant and acted
accordingly.

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to billing records for defendants’ patients.                Therefore, the court
finds that this item was outside the scope of the warrant.

    Item 6.10 is described as a blank ledger book.                 The government
merely notes it as a ledger and claims that it was properly seized
as financial a record.       A blank ledger is not a financial record.
This item was outside the scope of the 2001 warrant.
    Item 22.02 is described as a spiral notebook, with the first

name of a patient written on the front, but otherwise containing
notes about legal issues and social worker confidentiality that
were apparently gleaned from some sort of seminar.                 The government
claims that this item was properly seized under paragraphs 5, 6,
and 8 because it referenced JA.          However, the only reference to JA

noted in the inventory is the mere labeling of the notebook.                      There
is not the slightest hint that the contents are anything other than
generic   seminar   notes.     Since      paragraphs         5,   6,   and    8   deal
specifically with patients and Social Security beneficiaries, the
court finds no basis to conclude that this item came within the

scope of those warrant provisions.
    Item 38.51 is described as a video tape containing religious

programming.   The government makes a general argument that most of
the video tapes and photographs pertain to nude therapy or related
topics, and were thus seized under paragraph 8.                        However, the

description    of    this    video       does    not        comport     with       that
generalization.     The court finds that a movie described only as
containing religious programming does not fall within the scope of
the warrant.    Likewise, item 43.05 is described as a video tape
containing “television specials.”           The preceding analysis of item

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38.51 applies with equal force to this item.                It was not properly
seized under the warrant.          Finally, the government concedes that

three additional items were improperly seized: Items 38.30, 38.47,
and 41.03.   (Doc. 160 at 34.)
    In sum, of the 405 items seized, defendants have met their
burden to show that only eight items were outside the scope of the
2001 warrant.   Defendants have put forth no direct evidence to show

that government agents flagrantly disregarded the warrant so as to
convert the search into an unlawful general search.10                 See Foster,
100 F.3d at 849-50.       Likewise, defendants have failed to build a
circumstantial case for a general search based on the relative
number of items unlawfully seized as compared to those properly

seized.   Medlin, 842 F.2d at 1195-96, 1199.                   Accordingly, the
appropriate result is not the “unusual” and “extreme remedy” of
blanket suppression, Le, 173 F.3d at 1269, 1270, but the normal
remedy of suppressing only those items that were outside the scope
of the warrant.    Id. at 1269.

    B.    The 2001 Search Warrant was Sufficiently Particular
    Defendants     next    argue    that     if   the   2001    Search       Warrant

authorized seizure of the bulk of the 405 items seized, then it was
necessarily overbroad.      (Doc. 132 at 19-20.)            In support of that
argument, they cite only one case, and make no effort to provide

any analysis of the legal tests defining overbreadth.                        Instead,


    10 This conclusion forecloses defendants’ additional argument
regarding improper procedures for sorting and reviewing documents
off-site. (Doc. 132 at 15-18.) Since over 98% of all items seized
were within the scope of the warrant, defendants have no basis to
complain about the intrusion occasioned by the large number of
documents and other items that were taken.

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they    merely       supplement    their    scant   evidentiary        record      with
bombastic rhetoric.             This approach is not helpful, nor is it

effective.
       The key word around which defendants’ argument should be based

is   “particularity.”           U.S.   Const.   Amend.        IV.    That       word   is
strikingly absent from defendants’ argument.
              [A] warrant's description of things to be
              seized is sufficiently particular if it allows
              the searcher to reasonably ascertain and
              identify the things authorized to be seized.”
              United States v. Finnigin, 113 F.3d 1182, 1187
              (10th Cir. 1997) (omitting quotations and
              citations).   Further, the warrant must leave
              nothing to the officer's discretion as to what
              is to be seized, so that the officer is
              prevented from generally rummaging through a
              person's belongings.   See Lawmaster v. Ward,
              125 F.3d 1341, 1347-48 (10th Cir. 1997).
United States v. Hargus, 128 F.3d 1358, 1362 (10th Cir. 1997).                         The
scope    of      a    warrant     is   sufficiently      limited        to      satisfy

constitutional concerns when it
              “allow[s] the executing officers to distinguish
              between items that may and may not be seized.”
              Finnigin, 113 F.3d at 1187 (quoting United
              States v. Leary, 846 F.2d 592, 602 (10th Cir.
              1988)).   “Even a warrant that describes the
              items to be seized in broad or generic terms
              may be valid when the description is as
              specific as the circumstances and the nature of
              the activity under investigation permit.” Davis
              [v. Gracey], 111 F.3d [1472,] 1478 [10th Cir.
              1997] (internal quotations omitted).
Id. at 1362-63.
       The scope of the 2001 warrant was limited in a number of ways.

The warrant limited the seizure of most documents to those that

were dated between January 1, 1997 and the date of the search.
2001 Search Warrant attach. A at 2 ¶ 1.             Under paragraphs 2, 3, and


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4 of the description of items to be seized, the warrant limited the
scope of seizure to various documents and records related to “Arlan

Kaufman,       d/b/a    Kaufman     Treatment         Center     or    Kaufman      House
Residential Group Treatment Center, Inc. - whether individually or
as an entity.”         (Emphasis in original).           As the court has already
ruled, this excluded some documents related only to Linda Kaufman,
and would likewise exclude documents related exclusively to any

person    or   entity    other     than   Arlan       Kaufman    and    his   specified
businesses.      Finally, under paragraph 8 of the description of items
to be seized, the warrant limits seizure to those documents that
relate in some way to treatment and the medical conditions of
specified patients.

      Noting that the focus of the warrant was various methods of
complex    fraud,      along    with     accompanying        accusations       of   false
statements, the court finds that the warrant was sufficiently
specific to satisfy the particularity requirements.                         2001 Search
Warrant Aff. at 17-18.          Fraud ordinarily implies an intent to hide

one’s deceptive practices.               In order to properly investigate a
health care fraud case, it is understandable that the government
would need an abundance of documents that show treatment given,
treatment billed, patients’ medical conditions, and the trail of
the   money    flowing    into     and    out    of   the    hands     of   the   alleged

perpetrators.       Cf. Andresen v. Maryland,               427 U.S. 463, 481 n.10,
96 S. Ct. 2737, 2748, 49 L. Ed. 2d 627 (1976).                   Therefore the court
rejects defendants’ argument that the 2001 warrant lacked the
particularity required by the Fourth Amendment.                             Furthermore,
finding both that the 2001 search was not a general search and that

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the 2001 warrant was sufficiently particular, the entire basis to
suppress the evidence from the 2004 and 2005 searches as fruits of

the “illegal” 2001 search is non-existent.          (Doc. 132 at 23.)     That
argument is likewise rejected.
    C.     The 2004 Search Warrant
          As their last basis for suppressing evidence, defendants

argue that the 2004 search warrant was also too broad.               (Doc. 132

at 24.)    This warrant authorized seizure of the following items:
            1) All documents and other items related to or
            concerning individuals who are or who have been
            residents of the Kaufman House, including but
            not limited to:
                 a) All medical files, charts, or
                 notes, including but not limited to
                 nursing    notes    and    medication
                 distribution records, concerning past
                 or present residents of the Kaufman
                 House.
                 b) All notes, records, or other
                 documents   concerning   the   social
                 history,    therapy,     counseling,
                 education, treatment, progress, or
                 examination of any resident of the
                 Kaufman House.
                 c)     All   documents,     including
                 calendars, notes, diaries, journals,
                 letters, and other records, created
                 by any past or present resident of
                 the Kaufman House.
            2) All documents and other items concerning
            guidelines,     rules,    suggestions,      or
            recommendations of appropriate behavior at the
            Kaufman House.
            3) All financial records, including but not
            limited to bank records and credit card records
            related to the operation of the Kaufman House
            and the income of Arlan Kaufman and/or Linda
            Kaufman.

            4) All documents, including calendars, notes,
            diaries, journals, and other records of
            activity, that were created by or maintained by
            Arlan Kaufman and/or Linda Kaufman concerning

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         activity involving residents of the Kaufman
         House.
         5) All documents related to any research
         project or study being conducted by Arlan
         Kaufman and/or Linda Kaufman.
         6) All text books, course materials, charts,
         notes, or other education documents concerning
         issues related to nursing, therapy, social
         work, psychology, or psychiatry.
         7) All correspondence by Arlan Kaufman and/or
         Linda Kaufman concerning activity by past or
         present residents of the Kaufman House.
         8) All correspondence addressed to Arlan
         Kaufman, Linda Kaufman, or the Kaufman House
         concerning the distribution, sale, viewing, or
         accessibility of video tapes and/or photographs
         of past or present residents of the Kaufman
         House.
         9) All other documents that were designed for
         use or actually used in connection with
         counseling, education, and/or therapy provided
         at the Kaufman House.
         10) All computers, hard drives, disks, CD’s,
         and other storage devices maintained in any of
         the Kaufman properties.
         11) All video tapes and audio tapes maintained
         in any of the Kaufman properties, including but
         not limited to video tapes containing images of
         past or present residents of the Kaufman House,
         video tapes containing images of unclothed or
         partially clothed individuals, video tapes that
         include images or content related to nudism and
         or sexual activity, and “Naturist Video Tapes.”
         12)   All   video  cameras   and   accessories
         maintained in the Kaufman properties.

         13) All photographs including but not limited
         to photographs containing images of past or
         present residents of the Kaufman House,
         photographs containing images of unclothed or
         partially clothed individuals, and photographs
         that include images related to nudism and or
         sexual activity.
         14) All cameras and accessories.

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            15) All stun guns or other shock devices.

            16) All other items that were designed for use
            or actually used in connection with counseling,
            education, and/or therapy provided at the
            Kaufman House.
2004 Search Warrant Attach. A.           Defendants argue that paragraphs

one, three, ten, and thirteen rendered the warrant overly broad,
and thus it failed to satisfy the Fourth Amendment’s particularity
requirement.     (Doc. 132 at 24.)
      Defendants rely on United States v. Leary, 846 F.2d 592 (10th

Cir. 1998) for its propositions regarding a warrant’s lack of

particularity.      (Docs. 132 at 25; 182 at 15-16.)            While Leary is
still good law, the wording in the Leary search warrant that led
to its undoing was much different than that contained in the 2004
warrant.     The Leary warrant authorized seizure of
            [c]orrespondence, Telex messages, contracts,
            invoices, purchase orders, shipping documents,
            payment records, export documents, packing
            slips, technical data, recorded notations, and
            other records and communications relating to
            the purchase, sale and illegal exportation of
            materials in violation of the Arms Export
            Control Act, 22 U.S.C. 2778, and the Export
            Administration Act of 1979, 50 U.S.C. App.
            2410.
Leary, 846 F.2d at 594 (emphasis added).                The court of appeals
found this provision unconstitutionally overbroad based on the fact
that it allowed the search of an export business for virtually any

document related to generalized statutes that prohibited unlawful
exports.     Id. at 600-03; see also United States v. Wicks, 995 F.2d
964, 974 n.6 (10th Cir. 1993) (similarly characterizing the holding
in Leary).    Thus, the Leary warrant was deficient because the scope
of   the   search   was   limited   only    by   reference      to   two    broad,

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generalized, criminal statutes addressing export laws.                 Moreover,
the scope of the warrant was further expanded by the fact that the

warrant required only that the things to be seized be “related to”
either of those statutes.         Id. at 594.        Leary found that this
language imposed essentially no limits on the search, since the
target of the search was, in fact, an export company.                Id. at 601,
602 (“The warrant encompassed virtually every document that one

might expect to find in a modern export company's office”).                  This
was especially so since the government had evidence that would have
allowed it to narrow the scope of the warrant to focus on exports
of particular types of items to a particular company.                Id. at 604.
    In contrast to the Leary warrant, the 2004 warrant did not

rely on a statute.         Although the affidavit enumerated several
statutes, the contents of the affidavit can only be considered in
evaluating the particularity of the warrant if two requirements are
met: “first, the affidavit and search warrant must be physically
connected so that they constitute one document; and second, the

search   warrant    must    expressly     refer    to      the   affidavit    and
incorporate it by reference using suitable words of reference.”
Id. at 603.   As defendants are so quick to point out, there is no
evidence that either condition was met here.               (Doc. 182 at 15-16.)
Accordingly, the warrant must stand or fall by its own terms.

    Admittedly, the government’s handling of the warrant has left
something to be desired.        By not attaching the affidavit to the
warrant and incorporating the affidavit by reference into the
warrant, as was apparently done with the 2001 affidavit and warrant
(Doc. 160 at 4), the government gave up the opportunity to rely on

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the    amalgamated    document    in    order      to   avoid    any   problems    of
particularity.       In order to mitigate the apparent problems raised

in defendants’ brief, the government argues that any deficiencies
in the warrant should be cured by the affiant’s presence during the
search.      (Doc. 160 at 17-18.)      In so arguing, the government relies
on United States v. Guidry, 199 F.3d 1150 (10th Cir. 1999).                        Id.
Guidry held that the good-faith exception of United States v. Leon,

468 U.S. 897, 925, 104 S. Ct. 3405, 82 L. Ed. 2d 677 (1984) saved
an arguably overbroad warrant when the executing officer had been
intimately involved in the investigation prior to executing the
warrant such that his knowledge of the crimes involved acted to
limit the scope of the search.            Guidry, 199 F.3d at 1155.                The

court will reach the good-faith exception, infra, but for now the
focus     is   on   the   particularity       of      the   warrant;      thus,   the
government’s reliance on Guidry is misplaced.
       “The fourth amendment requires not only that the warrant

sufficiently specify the evidence to be seized, but also that the

scope of the warrant be limited to the specific areas and things
for which there is probable cause to search.”                   Leary, 846 F.2d at
605.    Defendants argue that the 2004 warrant failed to satisfy
either requirement.       (Doc. 132 at 25-26.)
       The first disputed provision of the warrant authorizes seizure

of all documents and other items related to past and present
residents of the Kaufman House.           By its own terms, this provision
limits seizure to documents and other items related to a narrow
class   of     individuals.      Moreover,      the     connection     between    this
provision and the crimes under investigation is quite clear. Among

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other things, defendants were suspected of pressing their allegedly
mentally-ill patients into involuntary servitude and compelling

them to perform for the creation of sexually explicit video tapes
that    defendants       sought       to   use   for   commercial      gain,      thereby
violating 18 U.S.C. §§ 1584, 1589, and 1591.                  Obtaining the records
described in paragraph 1 would not only help identify additional
victims, but would relate to whether the patients were acting of

their       own   free   will    or    whether     they   were    being    coerced    or
manipulated into performing for defendants.                       Furthermore, given
their allegedly questionable mental status,11 such information might
bear heavily on their capacity to consent and whether their will
was potentially overborne by coercion, deception or other methods.

Evidence seized under the 2001 warrant showed that defendants kept
a considerable amount of documentation on these individuals.                         This
documentation included writings made by the patients and notes kept
by defendants, as well as video tapes, audio tapes, photographs,
and medical records from other treating sources.                     In light of the

crimes under investigation, the warrant was sufficiently particular
based on the fact that it was limited to a narrow class of
individuals, past and present residents of the Kaufman House.
       The next provision to which defendants object is the paragraph


       11
       The government points out that defendants’ characterization
of the alleged victims’ mental status varies according to the
nature of their testimony; i.e. the alleged victim will be a
competent witness if his or her testimony is favorable to
defendants, whereas a “victim” who gives unfavorable testimony has
severe mental problems which will preclude his or her testimony at
trial. While this issue will not be discussed in this Memorandum
and Order, it is obvious that any witness must have the requisite
ability to understand the significance of the oath and his or her
obligation to testify truthfully.

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authorizing seizure of all financial records related to the Kaufman
House and defendants’ income.         The government asserts that since

the Kaufman House was essentially defendants’ only source of income
for decades, any monetary gains from enslaving their patients would
be fruits of defendants’ crimes.         (Doc. 160 at 22.)         Indeed, since
the crimes under investigation related to involuntary servitude and
creating video tapes for commercial gain, identifying the fruits

of   such   an   operation   would    be    appropriate       if    the      warrant
established fair probability to believe evidence of such a crime
would be found at defendants’ residence.                See United States v.
Simpson, 152 F.3d 1241, 1246 (10th Cir. 1998).                Since there is no
question that the warrant provided probable cause to search for

evidence of the alleged crimes, then there was probable cause to
search for the fruits of those ventures as well.                      Zurcher v.
Stanford Daily, 436 U.S. 547, 554, 98 S. Ct. 1970, 1975, 56 L. Ed.
2d 525 (1978).     This provision authorized seizure of a specific
class of records related to specific persons - defendants and their

business.    It was sufficiently particular to satisfy the Fourth
Amendment.
     Next, defendants attack paragraph 10 of the description of
items to be seized, which authorized seizure of all their computers
and related storage devices.         By its own terms, this paragraph is

quite particular.     The only real question is whether there is a
nexus to the crimes under investigation.                    As the 2001 search
showed, defendants kept notes and documents on their computers
related to the patients.       Some of those documents even revealed
defendants’ representations to third parties that the patients were

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voluntarily experimenting with social nudism and that videos of
them might be available for distribution.                     (Doc. 182 exh. 9.)

Accordingly, there can be little doubt that a strong nexus existed
between   these   computers      and   the     crimes     under     investigation.
Finally, it is undisputed that the government sought separate
warrants to search the contents of the computers.                  See, e.g., 2005
Search Warrant.     Paragraph 10 was sufficiently particular to pass

constitutional muster.
    Last of all, defendants challenge the warrant’s authorization

to seize all video tapes, audio tapes, and photographs at any of
the Kaufman properties.        The relevant language authorizes seizure
of “[a]ll video tapes and audio tapes maintained in any of the

Kaufman properties, including but not limited to [those depicting
patients, nudity, or sexual activity],” and “[a]ll photographs
including but not limited to [those depicting patients, nudity, or
sexual activity].”        2004 Search Warrant attach. A ¶¶ 11, 13.             Read
literally, these provisions authorized seizure of every video tape,

audio tape, and photograph on the premises, from Mary Poppins to
grade-school photos.
    The government argues that, although the language in the
warrant lacks sufficient particularity, this deficiency is cured
by the affidavit and the manner in which the warrant was executed.

However, as discussed supra, the affidavit was not attached to the
warrant; thus, the affidavit cannot be considered in deciding
whether the warrant was overly broad.                Likewise, the manner of
execution becomes relevant only as to the good-faith exception.
Guidry, 199 F.3d at 1155.

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    The problem with these two paragraphs is not that the language

is too vague - video tapes and photographs is fairly precise;

rather, the problem is that there was no probable cause to seize
all such items.    Leary, 846 F.2d at 605.         Nevertheless, there was
clearly probable cause to seize tapes and photographs showing past
or former Kaufman House residents, nudity, or sexual activity.
Moreover, defendants have failed to put forth any evidence that

tapes and/or photographs beyond this limited scope were actually
seized.   Thus, the problem may be academic.
    Be that as it may, out of an abundance of caution, the court
finds that paragraphs 11 and 13 of the 2004 Search Warrant lacked
sufficient particularity to satisfy the Fourth Amendment because

they allowed seizure of all tapes and photographs on the premises,
and because there was no probable cause to believe that all such
items were related to the crimes under investigation.12                   With
respect to the remedy for such a violation, the court relies on
United States v. Brown, 984 F.2d 1074 (10th Cir. 1993):

          At issue in this case is the effect of the
          language in each of the two warrants quoted in
          part above (Warrants I and II). Each of these
          warrants described, with specificity, some
          items to be searched or seized, but added an


    12 The government’s Leon good-faith exception argument is also
rejected.   In fact, the government implicitly concedes that the
language of these paragraphs was overly broad when it argues that
the affidavit and the manner of execution act to cure the
deficiency. (Doc. 160 at 17.) Moreover, the court finds that no
reasonably well trained officer would have believed that it was
appropriate to seize all photographs, video tapes, and audio tapes
based on this warrant.       It is clear from the warrant, the
affidavit, and the government’s brief that everyone knew the focus
of the warrant was tapes and photos related to the residents and/or
nudity. Unfortunately, the warrant simply was not drafted in such
a way as to incorporate those limitations.

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         authorization to search or seize other items
         which the officers determined or reasonably
         believed to be stolen. Mr. Brown argues that
         this     language    renders     the    warrant
         unconstitutionally broad.
              We find United States v. LeBron, 729 F.2d
         533 (8th Cir. 1984) instructive.      There, a
         warrant authorized a search for a list of
         specific items as well as for “other property,
         description unknown, for which there exists
         probable cause to believe it to be stolen.”
         Id. at 536.    That language, the court found,
         was not descriptive and did not adequately
         limit the discretion of the officers. Id. at
         536.   The instant warrant contained language
         very similar to the LeBron warrant.
              However, as in LeBron, the questionable
         portion of the warrant may be severed. “‘[T]he
         infirmity of part of a warrant requires the
         suppression of evidence seized pursuant to that
         part of the warrant . . ., but does not require
         the suppression of anything described in the
         valid portions of the warrant (or lawfully
         seized-on     plain    view    grounds,     for
         example-during their execution).’” LeBron, 729
         F.2d at 537 n.2 (quoting United States v.
         Fitzgerald, 724 F.2d 633, 637 (8th Cir. 1983)
         (en banc), cert. denied, 466 U.S. 950, 104 S.
         Ct. 2151, 80 L. Ed. 2d 538 (1984)). At least
         eight circuits have held that where a warrant
         contains    both    specific    as   well    as
         unconstitutionally broad language, the broad
         portion may be redacted and the balance of the
         warrant considered valid. See United States v.
         George, 975 F.2d 72, 79 (2d Cir. 1992); United
         States v. Blakeney, 942 F.2d 1001, 1027 (6th
         Cir. 1991), cert. denied, 502 U.S. 1035, 112 S.
         Ct. 881, 116 L. Ed. 2d 785 (1992); United
         States v. Holzman, 871 F.2d 1496, 1510 (9th
         Cir. 1989); Fitzgerald, 724 F.2d at 636-37;
         United States v. Riggs, 690 F.2d 298, 300 (1st
         Cir. 1982); United States v. Christine, 687
         F.2d 749, 759-60 (3d Cir. 1982); In re Search
         Warrant Dated July 4, 1977, 667 F.2d 117,
         130-33 (D.C. Cir. 1981), cert. denied, 456 U.S.
         926, 102 S. Ct. 1971, 72 L. Ed. 2d 441 (1982);
         United States v. Cook, 657 F.2d 730, 734-35
         (5th Cir. 1981). See also 1 Wayne R. LaFave &
         Jerold H. Israel, Criminal Procedure, § 3.4(f)
         at 229 (1984). In such cases, only those items
         confiscated under the overbroad portion of the
         warrant are suppressed.    George, 975 F.2d at
         79.

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Id. at 1077-78 (footnotes omitted).
       The court finds that the appropriate remedy is to strike the

offending     language.     Here,   that    means    removing      the    phrase
“including but not limited to” from paragraphs 11 and 13 of the
2004 warrant.     The resulting provisions will read as follows:
            11) All video tapes and audio tapes maintained
            in any of the Kaufman properties containing
            images of past or present residents of the
            Kaufman House, video tapes containing images of
            unclothed or partially clothed individuals,
            video tapes that include images or content
            related to nudism and or sexual activity, and
            “Naturist Video Tapes.”
            13) All photographs containing images of past
            or present residents of the Kaufman House,
            photographs containing images of unclothed or
            partially clothed individuals, and photographs
            that include images related to nudism and or
            sexual activity.
Any photographs, video tapes, or audio tapes beyond the scope of
these two paragraphs must be suppressed.            All photographs, video

tapes, and audio tapes that fall within the scope of the redacted
paragraphs were properly seized and are not affected by this
decision.
III.    CONCLUSION
       With respect to the 2001 search, the court finds that the

following items were unlawfully seized because they were beyond the
scope of the warrant:        Items 5.08, 6.10, 22.02, 38.30, 38.47,
38.51, 41.03, and 43.05.       The appropriate remedy in this case is
to suppress these items.      Pursuant to Fed. R. Crim. P. 41(g), the
government must return these items to defendants within ten days

of the date of this order.      In all other respects, the 2001 search
was lawful.


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     Paragraphs    11     and   13   of    the     2004   Search    Warrant   lacked

sufficient particularity to satisfy the Fourth Amendment.                       The

court severed the offending language, and the redacted versions of
these paragraphs have been provided, supra.                   If any items were
seized that were beyond the scope of the redacted paragraphs, they
must be suppressed and returned to defendants.                     Since defendants
put on no evidence of specific items that were seized under the

offending provisions of these two paragraphs, the court cannot be
more specific at this time.13        In all other respects the 2004 search
and the 2005 search were lawful.                 Nevertheless, defendants still
retain the right to object to the admissibility at trial of any
seized items if admitting such evidence would run afoul of the

United States Constitution or the Federal Rules of Evidence.


     IT IS SO ORDERED.
     Dated this     20th        day of September 2005, at Wichita, Kansas.



                                             s/Monti Belot
                                             Monti L. Belot
                                             UNITED STATES DISTRICT JUDGE




     13If the government believes that any documents returned to
defendants should be preserved for review, it may file copies in
a sealed envelope to be opened only upon the order of the court.

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